          Case 4:11-cr-00114-SWW Document 66 Filed 03/06/13 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA                                                           PLAINTIFF

V.                                  NO. 4:11CR00114-001 SWW

CONTESSA CLARK                                                                     DEFENDANT



                                                 ORDER
        Pending before the Court is defendant’s pro se motion to terminate probation previously imposed.

The government has stated their objection to the early termination of defendant’s probation in their response

in opposition filed February 22, 2013 [doc #65]. The government’s response states that “the defendant was

the leader of a fairly sophisticated, lengthy scheme that stole the identities of deceased people so that she

could feed her avarice at no expense to her.” Further, the defendant owes a substantial balance of $20,447.84

on her restitution at this time. The Court has considered the defendant’s motion and the government’s

response and finds that defendant’s motion for early termination should be denied.

        IT IS THEREFORE ORDERED that defendant’s motion to terminate probation [doc #64] be, and

it is hereby, DENIED.

        Dated this 6th day of March 2013.


                                                          /s/Susan Webber Wright
                                                          United States District Judge
